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EXHIBIT “P”
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February 22, 2012

Arnold & Itkin, LLP
1401 McKinney Street, Suite 2550
Houston, TX 77010

RE: _ Denial Letter on Final Payment Claim
Elton Johnson
Claimant ID: 3495033

Dear Claimant:

The Gulf Coast Claims Facility (the “GCCF”) is the official way for Individuals and Businesses
to file claims for costs and damages incurred as a result of the oil discharges due to the Deepwater
Horizon Incident on April 20, 2010 (the “Oil Spill”). The GCCF and its Claims Administrator, Kenneth
R. Feinberg, act for and on behalf of BP Exploration & Production, Inc. (“BP”) in fulfilling BP’s statutory
obligations as a “responsible party” under the Oil Pollution Act of 1990 (“OPA”).

All Claimants have the right to consult with an attorney of their own choosing prior to
accepting any settlement or signing a release of legal rights.

You have filed one or more Claim Forms with the GCCF. This Denial Letter (“Letter”) is an
official notification from the GCCF. This Letter addresses all the Claim Forms and documents that you
have filed concerning the claims described below. If you filed more than one Claim Form or claims for
businesses or activities on which you pay taxes using the same taxpayer identification number (Social
Security Number or Employer Identification Number), then we have combined all the claims for that
taxpayer identification number into one claim.

This letter is to inform you that, with respect to the Final Claim for physical injury submitted to
the GCCF by Mr. Elton Johnson, the GCCF has determined, after a review conducted following a third-
party allegation challenging its veracity, that there is insufficient reliable evidence to support this claim.
Accordingly, the claim has been denied.

As you are aware, based on the representations made to the GCCF in support of Mr. Johnson’s
claim, upon which the GCCF initially relied in good faith, the GCCF sent Mr. Johnson a determination
letter on September 23, 2011 offering him $2,698,096 to finally resolve his claim. In order to receive the
offered Final Payment, Mr. Johnson was required to and did return an election to accept the offer.
Thereafter, the GCCF would in the normal course have sent to Mr. Johnson a Release and Covenant not
to Sue, which Mr. Johnson would have been required to sign in order to receive his Final Payment.

However, after the GCCF received Mr. Johnson’s election to accept the Final Payment offer, the
GCCF was contacted by counsel for Tidewater Marine, LLC, (“Tidewater”), Mr. Johnson’s employer at
the time of the Deepwater Horizon incident, asserting that, based on Tidewater’s investigation and
interviews of other employees working on the Tidewater vessel upon which Mr. Johnson’s alleged
physical injury occurred, Mr. Johnson’s account of the alleged injury was not truthful. Upon receipt of
this information, pursuant to its standard protocol, the GCCF referred Mr. Johnson’s claim to its
investigators for further fact gathering and analysis. The resulting investigative report submitted to the
GCCF, which followed a substantial investigation of Mr. Johnson’s claim, concluded that Mr. Johnson’s
account of his injury had been fabricated. Accordingly, the GCCF has terminated its process with respect

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to Mr. Johnson’s claim, will not send Mr. Johnson a Release and Covenant not to Sue for his signature
and, accordingly, will not issue to Mr. Johnson a Final Payment for his submitted claim.

If you disagree with the GCCF’s denial of your Final Payment claim, you have the right to submit
the claim to the National Pollution Funds Center (“NPFC”), the Coast Guard office responsible for
evaluating and approving OPA claims, or as an alternative you have the right to file a claim in court,
including in the multidistrict litigation pending before the United States District Court for the Eastern
District of Louisiana, titled, Jn re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on
April 20, 2010 (MDL No. 2179). The multidistrict litigation is a consolidated grouping of federal
lawsuits arising out of the Oil Spill. General information on the procedure for filing a claim with the
NPFC may be obtained from the Director of the National Pollution Funds Center, NPFC MS 7100, U.S.
Coast Guard, 4200 Wilson Blvd., Suite 1000, Arlington, VA 20598-7100, (800) 280-7118, or from the
NPFC website at www.uscg.mil/npfe/claims. Information regarding the multidistrict litigation may be
obtained from the court’s website at www.laed.uscourts.gov.

Sincerely,

Ken wbh R.~Laley

Kenneth R. Feinberg
Claims Administrator
Gulf Coast Claims Facility

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